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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                           DISTRICT OF NEW JERSEY

   EDWARD HENDREX,                                 )
                                                   )
                          Plaintiff,               )
                                                   )
          V.                                       ) Case No.: 3:16-cv-01692-PGS-TJB
                                                   )
   DIVERSIFIED CONSULTANTS, INC.,                  )
                                                   )
                          Defendant.               )
                                                   )
                                 STIPULATION TO DISMISS

   TO THE CLERK:

          Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

   dismissal with prejudice and without cost to either party.


   /s/Ross S. Enders                              /s/Arny L. Bennecoff Ginsburg
    Ross S. Enders, Esq.                           Amy L. Bennecoff Ginsburg, Esq.
    Sessions, Fishman, Nathan & Israel, L.L.C.      Kimmel & Silverman, P.C.
    2303 Oxfordshire Road                          30 East Butler Pike
    Furlong, PA 18925                              Ambler, PA 19002
    Phone: 215-794-7207                            Phone: 215-540-8888
    Fax: 215-794-5079                              Fax: 877-788-2864
    Email: renders@sessions.legal                  Email: aginsburg@creditlaw.com
    Attorney for the Defendant                     Attorney for Plaintiff

   Date: May 19, 2016                              Date: May 19. 2016



                                         BY THE COURT:




                                                                         J.
